[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION ON DEFENDANT'S MOTION TO DISMISS I AND MOTION TODISMISS II
For the reasons set forth in the courts memorandum of decision in State v. Jose C. CR6-421185, the defendant's Motion to Dismiss I and Motion to Dismiss II are denied.
Dated at New Haven, Connecticut this 22nd day of March, 1996.
Robert J. Devlin, Jr., Judge
[EDITORS' NOTE:  THE CASE THAT PREVIOUSLY APPEARED ON THIS PAGE HAS BEEN MOVED TO CONN. SUP. PUBLISHED OPINIONS.] CT Page 2792